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ATTORNEYS FOR CALIFORNIA
STATE LANDS COMMISSION

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                   Chapter 11


Rincon Island Limited Partnership,                       Case No. 16-33174-HDH


         Debtor
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   Agreed Motion Under Rule 9019 for Order Approving Agreement for Chapter 11
        Trustee to Convey Debtors’ Leasehold Interests by Quitclaim Deed
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TO THE HONORABLE HARLIN D. HALE, UNITED STATES BANKRUPTCY JUDGE:
       The State of California (the “State”) by and through its undersigned attorneys and

the California State Lands Commission (the “Commission”), a creditor and party-in-

interest in the bankruptcy case of Rincon Island Limited Partnership (the “Debtor” or

“RILP”), respectfully files this Agreed Expedited Motion for Order Authorizing Trustee to

Convey Leasehold Interests by Quitclaim (“Motion”), and in support thereof shows as

follows.

A.     Jurisdiction and Venue

       The Court has jurisdiction over the above-captioned, jointly administered

bankruptcy case (the “Bankruptcy Case”) and has jurisdiction over this Motion under

28 U.S.C. § 1334(b). This Court can hear and determine this matter in accordance with

28 U.S.C. § 157 and the standing order of reference entered by the United States District

Court for the Northern District of Texas. This matter is a core proceeding under

28 U.S.C. § 157(b)(2), and venue for this Motion is proper in this district under

28 U.S.C. §§ 1408 and 1409.

       In accordance with the order of the Court entered on June 26, 2017 [Dkt. No. 252]

under § 1104 of title 11 of the United States Code (the “Bankruptcy Code”), the United

States Trustee appointed Jason R. Searcy to serve as Chapter 11 Trustee over the Debtor’s

bankruptcy estate.

B.     Factual and Procedural Background

       The Debtor filed its Bankruptcy Case on August 8, 2016 (the “Petition Date”).

       The Debtor owns and operates oil and gas interests. It is the lessee of three State oil-

and-gas leases concerning property located in Ventura County, California: PRC 1466.1 (the

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“Rincon Island Lease”), PRC 145.1, and PRC 410.1 (the “Shoreside Leases” and, together

with the Rincon Island Lease, the “Leases”).

       The Rincon Island Lease consists of an artificial oil and gas production island

located offshore. The Rincon Island Lease has not produced oil or gas commercially since

October 2008. The Shoreside Leases consist of wellheads and production facilities located

upland on private property. Oil is extracted from the Shoreside Leases from State lands

offshore by way of directional drilling. The Debtor ceased production from the Shoreside

Leases in January 2016, although it has since resumed producing in minimal quantities.

       The Debtor sought piecemeal approval to assume each of the Leases, which the

Commission opposed due to the outstanding default of the surety bonding amount. Over

the Commission’s objection, the Court approved the Debtor’s assumption of the Shoreside

Leases subject to the Debtor posting a bond set at $9,980,357, bringing the total security

the Debtor was required to provide the Commission to $10,380,357 (the “Required

Security”). See Order Granting Debtor’s Motion to Assume PRC 410 [Dkt. No. 187] and

Order Granting Debtor’s Second Motion to Assume PRC 145 [Dkt. No. 210]. The Court did

not approve the Debtor’s assumption of the Rincon Island Lease.

       In May 2017 the Commission filed a motion for relief from the automatic stay [Dkt.

No. 217]. On June 21, 2017, the Court entered an order resolving that motion [Dkt. No. 248],

in which the Court ordered the Debtor to post the Required Security by June 15, 2017.

Under that order, the Debtor’s failure to post the Required Security by the deadline or to

file a plan of reorganization by June 30, 2017 would result in the appointment of a Chapter

11 Trustee. Additionally, that order provided that:



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              [i]f a plan has not been confirmed, or a particular lease has not
              been sold or conveyed on or before October 30, 2017, with such
              extensions as the Commission may reasonably agree, the
              automatic stay shall terminate by operation of law and without
              further order of the Court so as to allow the Commission to
              take any and all action necessary to terminate such lease.

       The Debtor did not post the Required Security by June 15, 2017, so on June 26, 2017,

the Court entered the order directing the U.S. Trustee to appoint a Chapter 11 Trustee. As of

October 30, 2017, the Debtor had neither confirmed a plan of reorganization nor conveyed

the Leases. As such, the parties mutually agreed to extend the deadline for termination of

the automatic stay through November 30, 2017.

       The Trustee conducted marketing efforts to find an assignee of any or all of the

Leases, but was unable to find a buyer satisfactory to the Commission. As a result, with the

consent of the Trustee the Debtor’s funding source, UBS, has ceased providing funding to

the Trustee as of November 15, 2017. The cessation of funding has required the Commission

to take over funding in order for the current operator, a company called DrilTek Ltd., to

continue staffing and monitoring the Leases. Continued staffing is essential to securing

the Leases against environmental harm from an uncontrolled release of oil or other hazard.

       As a result of these developments, the Commission, the Chapter 11 Trustee, and UBS

have reached an agreement that provides for the Chapter 11 Trustee to convey by quitclaim

deed the Debtor’s interest in the Leases free and clear of all liens, encumbrances, or

interests of any party so that the Commission can terminate the Leases and take possession

of and control over them immediately. The Debtor has a statutory right to voluntarily

convey a quitclaim deed to the Commission and would do so pursuant to California Public

Resources Code section 6804.1. In return, the Commission has agreed to stipulate and


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affirm that lands that are the subject of the conveyance will become a part of the California

Coastal Sanctuary, and that as a result, pursuant to California Public Resources Code

Section 6243, the Commission cannot and will not relet said lands to any third party for oil

and gas production.

C.     Request for Relief

       The Commission (with the agreement of UBS and the Chapter 11 Trustee) asks that

the Court enter an order (if possible, before November 30, 2017) that: (1) confirms that the

automatic stay has terminated by operation of law in accordance with the Court’s order of

June 21, 2017; (2) approves the agreement the parties have reached regarding conveyance of

the Debtor’s interest in the Leases by quitclaim deed; and (3) authorizes the Commission

to take possession of and control over the Leases.

D.     Statutory Bases for Relief

       The statutory predicates for this Motion are Bankruptcy Code §§ 105(a) and

363(b) & (f) and Rules 2002 and 9019 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”)

       Section 105(a) of the Bankruptcy Code provides, in pertinent part, that “[t]he court

may issue any order . . . necessary or appropriate to carry out the provisions of [the

Bankruptcy Code].” In turn, Rule 9019(a) provides that: “On motion by the trustee and

after notice and a hearing, the court may approve a compromise or settlement.” Fed. R.

Bankr. P. 9019(a). Compromises and settlements are “‘a normal part of the process of

reorganization.’” Protective Comm. For Indep. Stockholders of TMT Trailer Ferry, Inc. v.




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Anderson, 390 U.S. 414, 424 (1968) (quoting Case v. Los Angeles Lumber Prods. Co., 308

U.S. 106, 130 (1939)).

       The decision whether to approve a compromise under Rule 9019 is committed to the

discretion of the Court, which must determine if the compromise or settlement is “fair and

equitable.” Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster Mortg. Corp.), 68

F.3d 914, 917 (5th Cir. 1995); Am. Can Co. v. Herpel (In re Jackson Brewing Co.), 624 F.2d

605, 608 (5th Cir. 1980); In re Mirant Corp., 348 B.R. 725, 739-40 (Bankr. N.D. Tex. 2006).

The court need not “conduct a mini-trial” to determine the probable outcome of the

underlying litigation, but instead must only consider the “relevant facts and law.” Matter of

Cajun Elec. Power Co-op., Inc., 119 F.3d 349, 356 (5th Cir. 1997) (citing La Salle Nat'l Bank v.

Holland (In re American Reserve Corp.), 841 F.2d 159, 163 (7th Cir. 1987)).

       In determining whether a compromise or settlement is fair and equitable, the Court

must “compare the ‘terms of the compromise with the likely rewards of litigation,’”

Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980), and is

guided by the following factors:

               (1) the probability of success in the litigation, with due consideration
               for the uncertainty in fact and law; (2) the complexity and likely
               duration of the litigation and any attendant expense, inconvenience,
               and delay, including the difficulties, if any, to be encountered in the
               matter of collection; (3) the paramount interest of the creditors and a
               proper deference to their respective views; (4) the extent to which the
               settlement is truly the product of arm’s-length bargaining and not
               fraud or collusion; and (5) all other factors bearing on the wisdom of
               the compromise.

The Cadle Co. v. Mims (In re Moore), 608 F.2d 252, 263 (5th Cir. 2010) (citing In re Foster,

68 F.3d at 917-18).



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       The foregoing factors weigh in favor of approval of the agreement. The Court should

approve the agreement because it represents a fair and reasonable result for all parties.

E.     Conclusion

       For all of the reasons set forth above, the Commission submits that the relief

requested in this Motion is warranted, appropriate, and in the best interests of the

Debtor’s bankruptcy estate and all parties in interest. The Commission requests entry of an

order substantially in the form of the proposed order filed with this Motion.




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Respectfully submitted,

November 28, 2017,

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AGREED AS TO FORM AND SUBSTANCE:


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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served on November 28, 2017
by ECF on all parties in interest who receive notification of filings through ECF and on the
parties listed on the latest service list.
                                              /s/ Eric Soderlund




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